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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
LOUISETTE GEISS, SARAH ANN THOMAS (a/k/a
SARAH ANN MASSE), MELISSA THOMPSON,
MELISSA SAGEMILLER, NANNETTE MAY (f/k/a                                 1:17-cv-09554-AKH
NANNETTE KLATT), KATHERINE KENDALL,
ZOE BROCK, CAITLIN DULANY, LARISSA
GOMES, and JANE DOE, individually and on behalf
of all others similarly situated,

                         Plaintiffs,

              - against -


THE WEINSTEIN COMPANY HOLDINGS, LLC,
MIRAMAX FILM NY LLC, THE WALT DISNEY
COMPANY, DISNEY ENTERPRISES, INC., BUENA
VISTA INTERNATIONAL, INC., HARVEY
WEINSTEIN, ROBERT WEINSTEIN, DIRK ZIFF,
TIM SARNOFF, MARC LASRY, TARAK BEN
AMMAR,     LANCE    MAEROV,    RICHARD
KOENIGSBERG, PAUL TUDOR JONES, JEFF
SACKMAN, JAMES DOLAN, MICHAEL EISNER,
IRWIN REITER, DAVID GLASSER, FRANK GIL,
RICK SCHWARTZ, FABRIZIO LOMBARDO,
MARK GILL, NANCY ASHBROOKE, BARBARA
SCHNEEWEISS, MIRAMAX DOES 1-10, TALENT
AGENCY DOES 1-100, and JOHN DOES 1-50,
inclusive,

                         Defendants.

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                       DEFENDANT HARVEY WEINSTEIN’S RESPONSE
                            TO PLAINTIFFS’ MOTION TO STAY




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          WEINSTEIN REQUESTS THAT PLAINTIFF MELISSA THOMPSON BE PRODUCED
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                                                               EXHIBITS

EXHIBIT A
     1. Correspondence from Imran Ansari to Lynn Ellenberger dated January 29, 2021 and
        February 3, 2021

EXHIBIT B
     1. USPS mailing label addressed to Lynn Ellenberger printed February 5, 2021

EXHIBIT C
     1. Melissa Thompson email exchanges dated September and October 2011




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       The Defendant, Harvey Weinstein (“Mr. Weinstein”), by and through his undersigned

counsel, submits this response to Plaintiffs Louisette Geiss, Sarah Ann Thomas (a/k/a/ Sarah Ann

Masse), and Melissa Thompson (collectively “Plaintiffs”) motion to stay.

                                        INTRODUCTION

       Since John Adams took on the unpopular cause of representing British troops during the

Boston Massacre trials of 1770, it has been recognized, by scholars of law and justice, that even

the most publicly vilified defendant and those thought of as indefensible, are entitled to due

process and a vigorous defense. If anything, there should be a heightened sense of assurance, that

the constitutional rights of those unpopular defendants are not trampled on, nor prejudiced by the

frenzied public. Arguably, that necessary and sacred part of our justice system has in recent years

been degraded, where the age of modern-day access to information at one’s fingertips has made

it all too easy for the public to rush to judgment and accept allegations without question. It has

also made it easy, acceptable, if not encouraged, to bring weak claims against someone who is

already guilty in the court of public opinion. The motivation for which may be monetary gain,

public notoriety, and new opportunities, perhaps driven by the desire to join and be the face of a

movement, or to be forever-deemed as “brave,” all while reassured that the claims may remain

untested, unquestioned, and unvalidated, certainly without scrutiny or deference to fact. The

public opinion ignores Constitutional safeguards – the presumption of innocence and entitlement

to due process – particularly as to the Defendant in this case, and it is thus necessary that those

procedural rights are not diminished but rather upheld in a court of law.

       Notwithstanding these principles, Mr. Weinstein does not oppose Plaintiffs’ motion for a

thirty (30) day stay, considering the possible finalization of the Plan of Liquidation in bankruptcy

court and the representation by the Plaintiffs that they intend to voluntary dismiss their claims in



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this court. In fact, he agrees to a stay if the Plaintiffs in fact intend to dismiss their claims, in

whole and with prejudice, upon the Plan becoming effective.

       However, in the event that the thirty (30) day stay is granted but is then subsequently lifted

due to the Plan not being deemed effective (or should the Plaintiff(s) elect to proceed against Mr.

Weinstein in court), Mr. Weinstein requests that the Court compel Plaintiff Melissa Thompson to

appear for a deposition forthwith, due to the exigent circumstances as stated by Plaintiffs’ counsel

attributed to Ms. Thompson’s terminal illness. The need for Ms. Thompson to be deposed is

critical due to the recent production of emails that seriously undermine and call into question her

allegation that she was raped by Mr. Weinstein. The emails evince an individual who has engaged

in a consensual act yet is experiencing regret due to what she perceives to be the physical

unattractiveness of Mr. Weinstein and is engaging in friendly – if not witty – banter about the

alleged incident with a friend. This exchange, made on or about the date of the alleged incident,

is critical evidence in favor of Mr. Weinstein and supports his defense. This documentary

evidence, in conjunction with audiovisual evidence also produced by Ms. Thompson, does not

support the narrative of rape that she has levied against Mr. Weinstein. If anything, it permits a

jury to draw a reasonable inference, that any sexual act that is alleged to have occurred between

Ms. Thompson and Mr. Weinstein was consensual, albeit perhaps regrettable for Ms. Thompson.

       Additionally, if the Court grants Plaintiffs’ motion for a stay and the Plan does not become

effective and/or the Plaintiffs choose to pursue their claims against Mr. Weinstein, as the

settlement permits, Mr. Weinstein requests an additional ninety (90) days from the lifting of the

stay to complete discovery in this case. The basis of this request is that the production of

documents that were served on Mr. Weinstein on February 5, 2021 pursuant to Court Order,

following the granting of Mr. Weinstein’s Motion to Compel (Doc. No. 392), necessitate the



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taking of party depositions as well as non-party depositions, and possible further requests for

documents and/or information based on discovery responses and/or testimony to be elicited at the

depositions of the Plaintiffs. The documents produced by Ms. Thompson as discussed above,

coupled with the sparse document production made on behalf of Plaintiffs Louisette Geiss and

Sarah Ann Thomas (Masse) (which contains zero corroborating information as it relates to their

claims), raise more questions than answers as to the nature and/or veracity of their allegations.

Therefore, Mr. Weinstein requests that he be permitted to proceed with the deposition of Ms.

Thompson forthwith upon the lifting of a stay (should this Court implement the same) and seeks

and additional ninety (90) days to complete discovery from that date, should the Plan not become

effective, and/or the Plaintiffs elect to pursue their claims against Mr. Weinstein.

   I.       PLAINTIFFS’ TIMELINE OF DISCOVERY EVENTS IN THIS MATTER IS
            ERRONEOUS.

        Plaintiffs’ recitation of the factual events pertaining to discovery in this matter as it relates

to Mr. Weinstein and/or his counsel is erroneous and amounts to revisionist history. Plaintiffs

inaccurately claim that “Weinstein’s counsel refused to commit to producing any documents” by

the unilateral and arbitrary date set by Plaintiffs’ counsel, of February 5, 2021. This is incorrect,

as Counsel for the Defendant sent emails to Counsel for the Plaintiffs and stated that Mr.

Weinstein would endeavor to respond with a document production in that time frame:




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       EXHIBIT A

       Mr. Weinstein fulfilled this request and produced documents on February 5, 2021. This

was the same date that Plaintiffs’ were ordered to produce documents to Mr. Weinstein pursuant

to the granting of Mr. Weinstein’s Motion to Compel. Despite the claim in their motion that Mr.

Weinstein objected to nearly every request, Mr. Weinstein produced approximately 95,255

documents. The size of the production necessitated the mailing of external document drives that

were sent via USPS to Plaintiffs’ counsel’s office (See, proof of mailing annexed here to as

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EXHIBIT B). Mr. Weinstein further provided supplemental responses to Plaintiffs’ Request for

Interrogatories.

       Plaintiffs’ also mischaracterize the communications regarding Mr. Weinstein’s

deposition. Although the Court did not stay Mr. Weinstein’s deposition in deciding Mr.

Weinstein’s prior motion, the Court did specify the following: “Should there be any medical

reasons to limit, or attach conditions to, Weinstein’s deposition so as to not unduly endanger the

deterioration of his health, an application can be made to the Court.” As such, Mr. Weinstein

does intend to seek relief from the Court by filing an application, along with a physician’s letter

describing Mr. Weinstein’s state of health, shortly after the filing of this brief. Nevertheless,

counsel did respond to Plaintiffs’ inquiry regarding scheduling depositions in this action as

follows:




       EXHIBIT A

       To the contrary of Plaintiffs’ position, Mr. Weinstein has diligently sought discovery. As

the Court may recall, on January 14, 2021, Mr. Weinstein filed a Motion to Compel Plaintiffs’ to

provide documents responsive to Mr. Weinstein’s requests. (Doc. No. 383). On January 28, 2021,


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the Court granted Mr. Weinstein’s Motion to Compel and ordered the Plaintiffs’ to serve

documents by February 5, 2021. On February 5, 2021, Plaintiffs served a document production

on Mr. Weinstein. Subsequently, Mr. Weinstein noticed the depositions of the Plaintiffs in this

action. Although Mr. Weinstein does not oppose a stay at this time, should the Court stay

discovery, and should there be a lifting of that stay, this production requires further discovery

including the depositions of the Plaintiffs and of non-parties whose identities have been revealed

within the recent document production.

         As such, the discovery discussed herein is germane to this matter, and Mr. Weinstein

respectfully requests that this Court, should it grant Plaintiffs’ request for a stay, which Mr.

Weinstein does not oppose, and should the stay be ultimately lifted, Ms. Thompson should be

compelled to be deposed forthwith, and further requests that the Court extend the time to complete

discovery upon the lifting of the stay for a period of ninety (90) days so that Mr. Weinstein may

pursue further discovery, including depositions.

   II.      SHOULD THE COURT STAY DISCOVERY AS PER PLAINTIFFS’
            REQUEST, MR. WEINSTEIN REQUESTS THAT PLAINTIFF MELISSA
            THOMPSON BE PRODUCED FORTHWITH FOR HER DEPOSITION AND
            THAT A NINETY (90) DAY PERIOD OF TIME BE AFFORDED TO
            COMPLETE DISCOVERY, UPON THE LIFTING OF THE STAY.

         Mr. Weinstein does not wish to waste time and expense on litigation that will ultimately

be resolved. However, should the Plan not become effective, or as the Plan allows claimants to

elect to take 25% of the apportioned settlement money and still proceed against Mr. Weinstein in

court, he must ensure that he is protected in this action. In essence, there is no closure for Mr.

Weinstein. Therefore, although Mr. Weinstein does not oppose Plaintiffs’ request for a stay, he

wishes to ensure he will be able to take discovery expeditiously from the Plaintiffs, should the

Plan not be made effective, or should the Plaintiffs elect to proceed with their claims.



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       Therefore, exigent circumstances relating to Ms. Thompson’s health necessitates that

discovery from Ms. Thompson be expedited upon the lifting of any court-imposed stay should

the Plan not be made effective or should the Plaintiff(s) elect to proceed against Mr. Weinstein in

court. As stated by Plaintiffs’ counsel themselves, discovery must be preserved due to Ms.

Thompson’s unfortunate state of health. This includes her deposition, and possibly post-

deposition requests for further discovery from the Plaintiff and/or non-party witnesses. Based on

Ms. Thompson’s email exchange with a friend, whose name we have redacted, there certainly

exists the need to take Ms. Thompson’s deposition, and importantly, the non-party deposition of

her friend. The email exchange in question is as follows:




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EXHIBIT C


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       Such discovery and/or testimony is critical to Ms. Thompson’s claims, but perhaps more

so to Mr. Weinstein’s defenses. At issue is the manner in which Ms. Thompson engaged her

friend shortly after she alleges that Mr. Weinstein raped her. The correspondence, while

establishing that Ms. Thompson was not pleased with the physical aesthetics of Mr. Weinstein,

does not establish nor corroborate the claim that she was raped, and more so, supports Mr.

Weinstein’s defense that any sexual contact was consensual, albeit unsavory for Ms. Thompson

in hindsight.

       Mr. Weinstein defends these actions at a serious disadvantage. Convicted, sentenced, and

defending a slew of civil claims, with criminal charges pending in Los Angeles, the need to pursue

beneficial and substantive discovery in his defense is critical, lest the doors to that discovery be

closed prematurely. Despite being vilified and despised in the court of public opinion, the need

to defend against accusations, seek relevant discovery, and avoid prejudice is in no way

abrogated, it is in fact heightened. The exigency to this discovery has been expressed by

Plaintiffs’ counsel themselves. They have shared unfortunate news that Ms. Thompson has

terminal metastatic breast cancer, and Ms. Thompson has intended to present herself for a

deposition in early 2021 to preserve her testimony for trial. Therefore, Plaintiffs’ counsel

concedes that discovery as it relates to Ms. Thompson is time sensitive and needs to be expedited.

Evidence relevant and germane to the accusations against Mr. Weinstein by Ms. Thompson, and

his defenses to said accusations and those of others, mandate that should a stay be implemented,

and this action is subsequently not settled, and said stay lifted, that a deposition of Ms. Thompson

follow forthwith, and additional and sufficient time be afforded to Mr. Weinstein to pursue

additional party and non-party discovery.

       While the Fourth Amended Plan may effectively terminate this litigation, Mr. Weinstein



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cannot leave anything to chance. No one can predict whether the Plan will be rendered effective,

or if these Plaintiffs will elect to take 100% of the apportioned settlement money allocated to

them and dismiss their claims with prejudice in their entirety, and release Mr. Weinstein of all

claims made herein. Thus, pursuit of discovery that is material, necessary, and relevant to this

action, and based on the emergent circumstances related to Ms. Thompson’s health necessitate

that the request that should a stay be granted, and the stay therein lifted for the possible reasons

discussed supra, that Ms. Thompson should be deposed forthwith, and Mr. Weinstein be afforded

ample time to seek further discovery in his defense.

       WHEREFORE, Defendant Harvey Weinstein does not oppose Plaintiffs’ request for a

stay pending the Plan being deemed effective, however, should any stay be subsequently lifted,

Mr. Weinstein respectfully requests that the Court enter an order compelling Plaintiff Melissa

Thompson to be deposed forthwith due to exigent circumstances regarding her health, and that

discovery deadlines be extended for a period of ninety (90) days from the date the stay is lifted.



Dated: February 8, 2021
       New York, New York


                                                       Respectfully Submitted,

                                                       AIDALA, BERTUNA & KAMINS, PC

                                              By:
                                                       __________________________________
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